Following a jury trial, appellee, Dean M. Prisco, was found guilty of one count of felonious sexual penetration, in violation of R.C. 2907.12(A)(2), one count of kidnapping, in violation of R.C. 2905.01(A)(4), and one count of rape, in violation of R.C. 2907.02(A)(2). On November 13, 1990, the Ashtabula County Court of Common Pleas sentenced appellee to serve an indefinite term of incarceration of ten to twenty-five years for both the rape and kidnapping counts and five to twenty five years on the felonious sexual penetration count, with the sentences to run concurrently. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed February 5, 1998, the trial court,sua sponte, determined that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams
(Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
                                       ---------------------- JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.